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                       IN THE UNITED STATES DISTRICT COURT
                           NOTHERN DISTRICT OF ILLINOIS

SHAUN FAULEY, individually and as the           )
representative of a class of similarly-         )
situated persons,                               )
                                                )
                              Plaintiff,        )   Civil Action No.:
                                                )
               v.                               )   CLASS ACTION
                                                )
HESKA CORPORATION and JOHN                      )
DOES 1-10,                                      )
                                                )
                        Defendants.             )

                               CLASS ACTION COMPLAINT

       Plaintiff, SHAUN FAULEY (“Plaintiff”), brings this action on behalf of himself and

all others similarly situated, through his attorneys, and except as to those allegations pertaining

to Plaintiff or its attorneys, which allegations are based upon personal knowledge, alleges the

following upon information and belief against Defendants, HESKA CORPORATION and

JOHN DOES 1-10 (“Defendants”):

                               PRELIMINARY STATEMENT

       1.      This case challenges Defendants’ practice of sending unsolicited facsimiles.

       2.      The federal Telephone Consumer Protection Act of 1991, as amended by the

Junk Fax Prevention Act of 2005, 47 USC § 227 (“JFPA” or the “Act”), and the regulations

promulgated under the Act, prohibit a person or entity from faxing or having an agent fax

advertisements without the recipient’s prior express invitation or permission. The JFPA

provides a private right of action and provides statutory damages of $500 per violation. Upon

information and belief, Defendants have sent facsimile transmissions of unsolicited
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advertisements to Plaintiff and the Class in violation of the JFPA, including, but not limited to,

the facsimile transmission of an unsolicited advertisement on or about May 19, 2013 (“the

Fax”), a true and correct copy of which is attached hereto as Exhibit A and made a part

hereof. The Fax describes the commercial availability of Defendants’ goods and services.

Plaintiff is informed and believes, and upon such information and belief avers, that Defendants

have sent, and continue to send, unsolicited advertisements via facsimile transmission in

violation of the JFPA.

       3.      Unsolicited faxes damage their recipients. A junk fax recipient loses the use of

its fax machine, paper, and ink toner. An unsolicited fax wastes the recipient’s valuable time

that would have been spent on something else. A junk fax interrupts the recipient’s privacy.

Unsolicited faxes prevent fax machines from receiving authorized faxes, prevent their use for

authorized outgoing faxes, cause undue wear and tear on the recipients’ fax machines, and

require additional labor to attempt to discern the source and purpose of the unsolicited

message.

       4.      On behalf of himself and all others similarly situated, Plaintiff brings this case

as a class action asserting claims against Defendants under the JFPA.

       5.      Plaintiff is informed and believes, and upon such information and belief avers,

that this action is based upon a common nucleus of operative fact because the facsimile

transmissions at issue were and are being done in the same or similar manner. This action is

based on the same legal theory, namely liability under the JFPA. This action seeks relief

expressly authorized by the JFPA: (i) injunctive relief enjoining Defendants, their employees,

agents, representatives, contractors, affiliates, and all persons and entities acting in concert




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with them, from sending unsolicited advertisements in violation of the JFPA; and (ii) an award

of statutory damages in the minimum amount of $500 for each violation of the JFPA, and to

have such damages trebled, as provided by § 227(b)(3) of the Act.

                                 JURISDICTION AND VENUE

       6.       This Court has subject matter jurisdiction under 28 U.S.C. § 1331 and 47

U.S.C. § 227.

       7.       This court has personal jurisdiction over Defendants because Defendants transact

business within this judicial district, have made contracts within this judicial district, and/or have

committed tortious acts within this judicial district.

                                             PARTIES

       8.       Plaintiff, SHAUN FAULEY, is an Illinois resident.

       9.       On information and belief, Defendant, HESKA CORPORATION, is a Delaware

corporation its principal place of business in Loveland, Colorado.

       10.      John Does 1-10 will be identified through discovery, but are not presently known.

                                                   FACTS

       11.      On or about May 19, 2013, Defendants transmitted by telephone facsimile

machine an unsolicited fax to Plaintiff. A copy of the facsimile is attached hereto as Exhibit

A.

       13.      Defendants created or made Exhibit A which Defendants knew or should have

known is a good or product which Defendants intended to and did in fact distribute to Plaintiff

and the other members of the class.

       14.      Exhibit A is part of Defendants’ work or operations to market Defendants’

goods or services which were performed by Defendants and on behalf of Defendants.


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Therefore, Exhibit A constitutes material furnished in connection with Defendants’ work or

operations.

       15.     Plaintiff had not invited or given permission to Defendants to send the fax.

       16.     On information and belief, Defendants faxed the same and other unsolicited

facsimiles without the required opt out language to Plaintiff and more than 40 other recipients

without first receiving the recipients’ express permission or invitation.

       17.     There is no reasonable means for Plaintiff (or any other class member) to avoid

receiving unauthorized faxes. Fax machines are left on and ready to receive the urgent

communications their owners desire to receive.

       18.     Defendants’ facsimiles did not display a proper opt-out notice as required by 47

C.F.R. § 64.1200.

                              CLASS ACTION ALLEGATIONS

       19.     In accordance with F. R. Civ. P. 23(b)(1), (b)(2) and (b)(3), Plaintiff brings this

class action pursuant to the JFPA, on behalf of the following class of persons:

               All persons who (1) on or after four years prior to the filing of
               this action, (2) were sent telephone facsimile messages of
               material advertising the commercial availability of any property,
               goods, or services by or on behalf of Defendants, (3) which
               Defendants did not have prior express permission or invitation,
               and (4) which did not display a proper opt-out notice.

Excluded from the Class are the Defendants, their employees, agents and members of the

Judiciary. Plaintiff reserves the right to amend the class definition upon completion of class

certification discovery.

       20.     Class Size (F. R. Civ. P. 23(a)(1)): Plaintiff is informed and believes, and upon

such information and belief avers, that the number of persons and entities of the Plaintiff Class is



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numerous and joinder of all members is impracticable. Plaintiff is informed and believes, and

upon such information and belief avers, that the number of class members is at least forty.

       21.     Commonality (F. R. Civ. P. 23 (a) (2)): Common questions of law and fact apply

to the claims of all class members. Common material questions of fact and law include, but are

not limited to, the following:

               a)      Whether the Defendants sent unsolicited fax advertisements;

               b)      Whether the Defendants’ faxes advertised the commercial availability of

       property, goods, or services;

               c)      The manner and method the Defendants used to compile or obtain the list

       of fax numbers to which they sent Exhibit "A" and other unsolicited faxed

       advertisements;

               d)      Whether the Defendants faxed advertisements without first obtaining the

       recipient's prior permission or invitation;

               e)      Whether the Defendants sent the faxed advertisements knowingly;

               f)      Whether the Defendants violated the provisions of 47 U.S.C. § 227 and

       the regulations promulgated thereunder;

               g)      Whether the faxes contain an “opt-out notice” that complies with the

       requirements of § (b)(1)(C)(iii) of the Act, and the regulations promulgated thereunder,

       and the effect of the failure to comply with such requirements;

               h)      Whether the Defendants should be enjoined from faxing advertisements in

       the future;

               i)      Whether the Plaintiff and the other members of the class are entitled to

       statutory damages; and




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                j)      Whether the Court should award treble damages.

        22.     Typicality (F. R. Civ. P. 23 (a) (3)): The Plaintiff's claims are typical of the

claims of all class members. The Plaintiff received the same faxes as the faxes sent by or on

behalf of the Defendants advertising goods and services of the Defendants during the Class

Period. The Plaintiff is making the same claims and seeking the same relief for itself and all class

members based upon the same federal statute. The Defendants have acted the same or in a

similar manner with respect to the Plaintiff and all the class members by sending Plaintiff and

each member of the class the same faxes.

        23.     Fair and Adequate Representation (F. R. Civ. P. 23 (a) (4)): The Plaintiff will

fairly and adequately represent and protect the interests of the class. It is interested in this matter,

has no conflicts and has retained experienced class counsel to represent the class.

        24.     Need for Consistent Standards and Practical Effect of Adjudication (F. R. Civ. P.

23 (b) (1)): Class certification is appropriate because the prosecution of individual actions by

class members would: (a) create the risk of inconsistent adjudications that could establish

incompatible standards of conduct for the Defendants, and/or (b) as a practical matter,

adjudication of the Plaintiff's claims will be dispositive of the interests of class members who are

not parties.

        25.     Common Conduct (F. R. Civ. P. 23 (b) (2)): Class certification is also appropriate

because the Defendants have acted and refused to act in the same or similar manner with respect

to all class members thereby making injunctive and declaratory relief appropriate. The Plaintiff

demands such relief as authorized by 47 U.S.C. §227.

        26.     Predominance and Superiority (F. R. Civ. P. 23 (b) (3)): Common questions of

law and fact predominate over any questions affecting only individual members, and a class




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action is superior to other methods for the fair and efficient adjudication of the controversy

because:

           a)    Proof of the claims of the Plaintiff will also prove the claims of the class without

           the need for separate or individualized proceedings;

           b)    Evidence regarding defenses or any exceptions to liability that the Defendants

           may assert and prove will come from the Defendants’ records and will not require

           individualized or separate inquiries or proceedings;

           c)    The Defendants have acted and are continuing to act pursuant to common policies

           or practices in the same or similar manner with respect to all class members;

           d)    The amount likely to be recovered by individual class members does not support

           individual litigation. A class action will permit a large number of relatively small claims

           involving virtually identical facts and legal issues to be resolved efficiently in one (1)

           proceeding based upon common proofs; and

           e)    This case is inherently manageable as a class action in that:

                 (i)     The Defendants identified persons or entities to receive the fax

           transmissions and it is believed that the Defendants’ computer and business records will

           enable the Plaintiff to readily identify class members and establish liability and

           damages;

                 (ii)    Liability and damages can be established for the Plaintiff and the class

           with the same common proofs;

                 (iii)   Statutory damages are provided for in the statute and are the same for all

           class members and can be calculated in the same or a similar manner;




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               (iv)     A class action will result in an orderly and expeditious administration of

         claims and it will foster economics of time, effort and expense;

               (v)      A class action will contribute to uniformity of decisions concerning the

         Defendants’ practices; and

               (vi)     As a practical matter, the claims of the class are likely to go unaddressed

         absent class certification.

              Claim for Relief for Violation of the JFPA, 47 U.S.C. § 227 et seq.

       27.     The JFPA makes unlawful for any person to “use any telephone facsimile

machine, computer or other device to send, to a telephone facsimile machine, an unsolicited

advertisement . . . .” 47 U.S.C. § 227(b)(1)(C).

       28.     The JFPA defines “unsolicited advertisement” as “any material advertising the

commercial availability or quality of any property, goods, or services which is transmitted to any

person without that person's prior express invitation or permission, in writing or otherwise.” 47

U.S.C. § 227 (a) (5).

       29.     Opt-Out Notice Requirements. The JFPA strengthened the prohibitions against

the sending of unsolicited advertisements by requiring, in § (b)(1)(C)(iii) of the Act, that senders

of faxed advertisements place a clear and conspicuous notice on the first page of the transmission

that contains the following among other things (hereinafter collectively the “Opt-Out Notice

Requirements”):

               1.       a statement that the recipient is legally entitled to opt-out of receiving

               future faxed advertisements – knowing that he or she has the legal right to request

               an opt-out gives impetus for recipients to make such a request, if desired;




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              2.      a statement that the sender must honor a recipient’s opt-out request within

              30 days and the sender’s failure to do so is unlawful – thereby encouraging

              recipients to opt-out, if they did not want future faxes, by advising them that their

              opt-out requests will have legal “teeth”;

              3.      a statement advising the recipient that he or she may opt-out with respect

              to all of his or her facsimile telephone numbers and not just the ones that receive a

              faxed advertisement from the sender – thereby instructing a recipient on how to

              make a valid opt-out request for all of his or her fax machines;

       The requirement of (1) above is incorporated from § (b)(D)(ii) of the Act. The

requirement of (2) above is incorporated from § (b)(D)(ii) of the Act and the rules and

regulations of the Federal Communications Commission (the “FCC”) in ¶ 31 of its 2006 Report

and Order (In the Matter of Rules and Regulations Implementing the Telephone Consumer

Protection Act, Junk Prevention Act of 2005, 21 F.C.C.R. 3787, 2006 WL 901720, which rules

and regulations took effect on August 1, 2006). The requirements of (3) above are contained in

§ (b)(2)(E) of the Act and incorporated into the Opt-Out Notice Requirements via § (b)(2)(D)(ii).

Compliance with the Opt-Out Notice Requirements is neither difficult nor costly. The Opt-Out

Notice Requirements are important consumer protections bestowed by Congress upon the

owners of the telephone lines and fax machines giving them the right, and means, to stop

unwanted faxed advertisements.

       30.    2006 FCC Report and Order. The JFPA, in § (b)(2) of the Act, directed the

FCC to implement regulations regarding the JFPA, including the JFPA’s Opt-Out Notice

Requirements and the FCC did so in its 2006 Report and Order, which in addition provides

among other things:




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               A.     The definition of, and the requirements for, an established business

relationship for purposes of the first of the three prongs of an exemption to liability under

§ (b)(1)(C)(i) of the Act and provides that the lack of an “established business relationship”

precludes the ability to invoke the exemption contained in § (b)(1)(C) of the Act (See 2006

Report and Order ¶¶ 8-12 and 17-20);

               B.     The required means by which a recipient’s facsimile telephone number

must be obtained for purposes of the second of the three prongs of the exemption under §

(b)(1)(C)(ii) of the Act and provides that the failure to comply with these requirements precludes

the ability to invoke the exemption contained in § (b)(1)(C) of the Act (See 2006 Report and

Order ¶¶ 13-16);

               C.     The things that must be done in order to comply with the Opt-Out Notice

Requirements for the purposes of the third of the three prongs of the exemption under §

(b)(1)(C)(iii) of the Act and provides that the failure to comply with these requirements

precludes the ability to invoke the exemption contained in § (b)(1)(C) of the Act (See 2006

Report and Order ¶¶ 24-34);

               D.     The failure of a sender to comply with the Opt-Out Notice Requirements

precludes the sender from claiming that a recipient gave “prior express permission or invitation”

to receive the sender’s fax (See Report and Order ¶ 48);

       As a result thereof, a sender of a faxed advertisement who fails to comply with the Opt-

Out Notice Requirements has, by definition, transmitted an unsolicited advertisement under the

JFPA. This is because such a sender can neither claim that the recipients of the faxed

advertisement gave “prior express permission or invitation” to receive the fax nor can the sender

claim the exemption from liability contained in § (b)(C)(1) of the Act.




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        31.     The Fax. Defendants sent the on or about May 19, 2013, advertisement via

facsimile transmission from telephone facsimile machines, computers, or other devices to the

telephone lines and facsimile machines of Plaintiff and members of the Plaintiff Class. The Fax

constituted an advertisement under the Act. Defendants failed to comply with the Opt-Out

Requirements in connection with the Fax. The Fax was transmitted to persons or entities without

their prior express permission or invitation and/or Defendants are precluded from asserting any

prior express permission or invitation because of the failure to comply with the Opt-Out Notice

Requirements. By virtue thereof, Defendants violated the JFPA and the regulations promulgated

thereunder by sending the Fax via facsimile transmission to Plaintiff and members of the Class.

        32.     Defendants’ Other Violations. Plaintiff is informed and believes, and upon such

information and belief avers, that during the period preceding four years of the filing of this

Complaint and repeatedly thereafter, Defendants have sent via facsimile transmission from

telephone facsimile machines, computers, or other devices to telephone facsimile machines of

members of the Plaintiff Class faxes that constitute advertisements under the JFPA that were

transmitted to persons or entities without their prior express permission or invitation (and/or that

Defendants are precluded from asserting any prior express permission or invitation because of

the failure to comply with the Opt-Out Notice Requirements in connection with such

transmissions). By virtue thereof, Defendants violated the JFPA and the regulations promulgated

thereunder. Plaintiff is informed and believes, and upon such information and belief avers, that

Defendants are continuing to send unsolicited advertisements via facsimile transmission in

violation of the JFPA and the regulations promulgated thereunder, and absent intervention by

this Court, will do so in the future.

        33.     The TCPA/JFPA provides a private right of action to bring this action on behalf




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of Plaintiff and the Plaintiff Class to redress Defendants’ violations of the Act, and provides for

statutory damages. 47 U.S.C. § 227(b)(3). The Act also provides that injunctive relief is

appropriate. Id.

       34.     The JFPA is a strict liability statute, so the Defendants are liable to the Plaintiff

and the other class members even if their actions were only negligent.

       35.     The Defendants knew or should have known that (a) the Plaintiff and the other

class members had not given express invitation or permission for the Defendants or anybody else

to fax advertisements about the Defendants’ goods or services; (b) the Plaintiff and the other

class members did not have an established business relationship; (c) Defendants transmitted

advertisements; (d) the Faxes did not contain the required Opt-Out Notice; and (e) Defendants’

transmission of advertisements that did not contain the required opt-out notice was unlawful.

       36.     The Defendants’ actions caused damages to the Plaintiff and the other class

members. Receiving the Defendants’ junk faxes caused the recipients to lose paper and toner

consumed in the printing of the Defendants’ faxes. Moreover, the Defendants’ faxes used the

Plaintiff's telephone lines and fax machine. The Defendants’ faxes cost the Plaintiff time, as the

Plaintiff and its employees wasted their time receiving, reviewing and routing the Defendants’

unauthorized faxes. That time otherwise would have been spent on the Plaintiff's business

activities. The Defendants’ faxes unlawfully interrupted the Plaintiff's and other class members'

privacy interests in being left alone. Finally, the injury and property damage sustained by

Plaintiff and the other class members from the sending of Defendants’ advertisements occurred

outside of Defendants’ premises.




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       WHEREFORE, Plaintiff, SHAUN FAULEY, individually and on behalf of all others

similarly situated, demands judgment in his favor and against Defendants, HESKA

CORPORATION and JOHN DOES 1-10, jointly and severally, as follows:

       A.      That the Court adjudge and decree that the present case may be properly

maintained as a class action, appoint the Plaintiff as the representative of the class, and appoint

the Plaintiff’s counsel as counsel for the class;

       B.      That the Court award actual monetary loss from such violations or the sum of five

hundred dollars ($500.00) for each violation, whichever is greater;

       C.      That Court enjoin the Defendants from additional violations; and

       D.      That the Court award pre-judgment interest, costs, and such further relief as the

Court may deem just and proper.

                                               Respectfully submitted,

                                               SHAUN FAULEY, individually and as the
                                               representative of a class of similarly-situated
                                               persons,

                                               By: s/ Brian J. Wanca
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                                               Ryan M. Kelly
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